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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )               CASE NO. 8:11CR72
                                               )
              Plaintiff,                       )
                                               )
              vs.                              )             TENTATIVE FINDINGS
                                               )
JESUS ISRAEL LOPEZ-RODRIGUEZ,                  )
                                               )
              Defendant.                       )


       The Court has received the Revised Presentence Investigation Report (“PSR”) and

the parties' objections thereto (Filing Nos. 114, 116). See Order on Sentencing Schedule,

¶ 6. The Court advises the parties that these Tentative Findings are issued with the

understanding that, pursuant to United States v. Booker, 543 U.S. 220 (2005), the

sentencing guidelines are advisory.

       Neither party objected initially to the probation officer.

       The government merely stated in its filed objections that it “objects to the Revised

[PSR]” and “stands by the plea agreement.” The government has provided bo basis for its

objection, and therefore the Court cannot evaluate its objection. The government is

advised that the Order on sentencing Schedule requires that “the specific nature of each

objection” be stated. (Filing No. 87, at 2.) The government's unspecified objection is

denied.

       The Defendant's request to file its objections out of time is granted. The Defendant

objects to ¶ 38. In the plea agreement, the parties agreed upon a drug quantity of at least

1.5 but less than 5 kilograms of methamphetamine and the application of base offense level
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34. With the downward role adjustment under U.S.S.G. § 3B1.2, the base offense level

would become 31 under U.S.S.G. § 2D1.1(a)(5)(ii).

       However, the probation officer determined that the drug quantity was 2.29 kilograms

of actual methamphetamine, resulting in an initial base offense level of 38. After the

adjustment under § 3B1.2, the application of § 2D1.1(a)(5)(iii) resulted in the base offense

level of 34 being reported in ¶ 38 of the PSR.

       The Court intends to honor the drug quantity agreed upon by the parties in the plea

agreement. Therefore, the Court's tentative findings are that the Defendant's objections

are granted and the total offense level is 22.

       IT IS ORDERED:

       1.     The Defendant’s objections to ¶ 38 of the PSR are granted;

       2.     The government's objections the PSR are denied;

       3.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       4.     Absent submission of the information required by paragraph 3 of this Order,

my tentative findings may become final; and

       5.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

                                               2
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     DATED this 21st day of November, 2011.

                                     BY THE COURT:

                                     S/ Laurie Smith Camp
                                     United States District Judge




                                       3
